     Case 8:19-cr-00061-JVS Document 602 Filed 07/27/21 Page 1 of 7 Page ID #:10923



 1   TRACY L. WILKISON
     Acting United States Attorney
 2   SCOTT M. GARRINGER
     Assistant United States Attorney
 3   Chief, Criminal Division
     ALEXANDER C.K. WYMAN (Cal. Bar No. 295339)
 4   Assistant United States Attorney
     Major Frauds Section
 5        1100 United States Courthouse
          312 North Spring Street
 6        Los Angeles, California 90012
          Telephone: (213) 894-2435
 7        Facsimile: (213) 894-6269
          Email:     Alex.Wyman@usdoj.gov
 8
     BRETT A. SAGEL (Cal. Bar No. 243918)
 9   Assistant United States Attorney
          Ronald Reagan Federal Building
10        411 West Fourth Street, Suite 8000
          Santa Ana, California 92701
11        Telephone: (714) 338-3598
          Facsimile: (714) 338-3708
12        Email:      Brett.Sagel@usdoj.gov

13   Attorneys for Plaintiff
     UNITED STATES OF AMERICA
14
                              UNITED STATES DISTRICT COURT
15
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
16
     UNITED STATES OF AMERICA,                 SA CR No. 19-061-JVS
17
                Plaintiff,                     DOCUMENTS REFERENCED IN RESPONSE
18                                             TO DEFENDANT’S REQUEST FOR AN
                      v.                       IMMEDIATE INQUIRY BY THE COURT
19                                             (DOC 595)
     MICHAEL JOHN AVENATTI,
20
                Defendant.
21

22

23         Plaintiff United States of America, by and through its counsel

24   of record, the United States Attorney for the Central District of

25   California and Assistant United States Attorneys Brett A. Sagel and

26   Alexander C.K. Wyman, hereby files, at the request of the Court, the

27   documents the government referenced in Court on July 27, 2021, in

28   response to defendant’s request for an immediate inquiry by the Court
     Case 8:19-cr-00061-JVS Document 602 Filed 07/27/21 Page 2 of 7 Page ID #:10924



 1   (CR 595).    The attached documents include the email the government

 2   sent to defense counsel regarding the initial tweet in question, a

 3   tweet on July 22, 2021, at 2:13 p.m. while the trial was in session,

 4   a July 23, 2021, tweet in which the individual claimed they missed

 5   part of Geoff Johnson’s testimony because they were at a medical

 6   appointment, and various tweets on July 26, 2021, after defendant

 7   filed his request, in which the individual stated they were not a

 8   juror on our case.

 9

10    Dated: July 27, 2021                 Respectfully submitted,

11                                         TRACY L. WILKISON
                                           Acting United States Attorney
12
                                           SCOTT M. GARRINGER
13                                         Assistant United States Attorney
                                           Chief, Criminal Division
14

15                                               /s/
                                           BRETT A. SAGEL
16                                         ALEXANDER C.K. WYMAN
                                           Assistant United States Attorneys
17
                                           Attorneys for Plaintiff
18                                         UNITED STATES OF AMERICA
19

20

21

22

23

24

25

26

27

28

                                              2
Case 8:19-cr-00061-JVS Document 602 Filed 07/27/21 Page 3 of 7 Page ID #:10925
Case 8:19-cr-00061-JVS Document 602 Filed 07/27/21 Page 4 of 7 Page ID #:10926
Case 8:19-cr-00061-JVS Document 602 Filed 07/27/21 Page 5 of 7 Page ID #:10927
Case 8:19-cr-00061-JVS Document 602 Filed 07/27/21 Page 6 of 7 Page ID #:10928
Case 8:19-cr-00061-JVS Document 602 Filed 07/27/21 Page 7 of 7 Page ID #:10929
